Case 2:05-cr-20184-.]PI\/| Document 12 Filed 06/03/05 Page 1 of 2 Page|D 14

 
  

 

 

 

iN tHE UNITED sTATEs DlsTRICT COURT F“£D m » -\ D-C-
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 JUti -_3 PH 2= |2
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'F:‘f§iii<.‘ a`.:i“zzi§i‘“._’&n:
UNITED STATES OF AMERICA W_;;), orr ':N, mgm-ims
V.
05-20184-M1
TYRONE HAWKINS
0RDER oN ARRAIGNMENT
This Cause Came to be heard 011 J`U|UE l ,. 2 005 , the United States Attorney

 

for this district appeared on behalf of the government, and the defendant appeared in person and With
counse]:

NAME 5(-0“' \`l'A'LL- Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.
\/ The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

sam @,/

UNITED STATES MAGISTRATE IUDGE

CHARGES: 18:922(g)
U. S. Attorney assigned to Case: E. Gilluly

Age: N[A

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20184 Was distributed by faX, mail, or direct printing on
J unc 6, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

l\/lemphis7 TN 38103

Honorable .1 on l\/lcCalla
US DISTRICT COURT

